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UNITED STATES DISTRICT COURT FOR THE DISTRICT OF
IDAHO NORTHERN DIVISION

JASON HENRY ALLEN, Case No.: CV 25-0172-NUKG
INDIVIDUALLY AND AS TRUSTEE
OF RIKUR PRIVATE IRREVOCABLE

TRUST, NOTICE OF DISCHARGE AND
DEMAND FOR RESOLUTION
Plaintiff, U.S. COURTS
VS. MAR 27 2025
IDAHO CENTRAL CREDIT FEVG. eof ladle == line AS
UNION AND BRIAN M. GLa, DYETRICT OF IDAHO
BERRETT,
Defendants

NOTICE OF DISCHARGE AND DEMAND FOR RESOLUTION

I, Jason-Henry:Allen, a person as defined herein, affirm that I tendered payment via a negotiable
instrument to ICCU, the payee, in discharge of the claimed obligation on October 18, 2024. This
tender, as defined, was an absolute (final, unconditional) offer of money (a circulating medium
of exchange) to satisfy the debt, per UCC § 3-603. ICCU’s refusal to accept this tender and
release the title to the 2023 Toyota Sequoia VIN 7S VAAABA8PX011784, as trust res of the
Rikur Private Irrevocable Trust, discharges the obligation to the extent of the amount tendered,
placing ICCU in default and estopping them from denying the discharge (estoppel by contract,
Black’s Law Dictionary 4th Ed.), as alleged in Count X of my Complaint.

There exists privity (a mutual relationship to the same rights of property) between myself and
ICCU, as debtor and creditor under the contract (Black’s Law Dictionary 4th Ed.). However,
ICCU’s actions constitute a tort-feasor’s (doer of a wrong) conduct, violating my inalienable
(non-transferable) rights to liberty and property, as a person (a nothingness which produces a
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somethingness), by wrongfully retaining my payment of $84,800.94, refusing to release the title,
continuing collection attempts, and falsely reporting my credit status.

I demand that ICCU and its agents, including Brian M. Berrett, immediately:

1. Cease all collection attempts related to the claimed obligation, as required by 15 U.S.C. §
1692c(c) (Complaint, Count VI); - -

2. Correct all negative credit reporting related to this obligation with Equifax, TransUnion,
and Experian within 14 days of receipt of this Notice, as required by 15 U.S.C. § 1681s-
2(b) (Complaint, Count III, Prayer D);

3. Release the clean and clear title to the 2023 Toyota Sequoia VIN
7S VAAABA8PX011784 to the Rikur Private Irrevocable Trust within 14 days, as
demanded in my Complaint (Prayer C);

4. Provide written proof of compliance with these demands to Plaintiff within-14 days at
2600 East Seltice Way #235, Post Falls, ID 83854.

Failure to comply within 14 days wiill result in further legal action, including but not limited to:
(a) seeking an injunction to prevent further collection attempts and credit reporting, as requested
in my Complaint (Prayer E); (b) pursuing additional damages for willful violations-of FCRA,
FDCPA, and Idaho law (Complaint, Prayers F—I); (c) filing additional liens against ICCU and
Berrett for continued tortious conduct; and (d) seeking sanctions under FRCP 37(e) for any
spoliation of evidence related to this matter.

I, Jason-Henry:Allen, affirm under penalty of perjury under the laws of the United States of
America and the Idaho State that the foregoing is true and correct to the best of my knowledge. I
reserve all rights and remedies under law and equity.

DATED: March 26, 2025
Respectfully submitted in honor and in equity,

Haig Jason-Henry: Allen
Jason-Henry: Allen — Beneficiary, Without Recourse, Without Prejudice
Trustee of Rikur Private Irrevocable Trust
